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                                    DIRTY WORLD, LLC
                                6
                                7
                                                             UNITED STATES DISTRICT COURT
                                8
                                                            CENTRAL DISTRICT OF CALIFORNIA
                                9
                               10   PAUL N. WEINBERG, an individual,                    Case No: 2:16-CV-09179
                               11           Plaintiff,
                               12     vs.
                                                                                        DIRTY WORLD, LLC’S
                               13   DIRTY WORLD, LLC, a Delaware limited                ANSWER AND COUNTERCLAIM
                                    liability company; DOES 1–10, inclusive,
                               14
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                                            Defendants.
     PHOENIX, AZ 85044




                               15
                                    DIRTY WORLD, LLC,
                               16
                                            Counterclaimant,
                               17
                                      vs.
                               18
                                    PAUL N. WEINBERG, an individual,
                               19
                                            Counterdefendant.
                               20
                                            Defendant DIRTY WORLD, LLC (“DW”) Answers the Complaint of PAUL N.
                               21
                                    WEINBERG (“Plaintiff” or “Weinberg”) as follows:
                               22
                                            1.     Admit.
                               23
                                            2.     Admit.
                               24
                                            3.     Admit DW owns and operates a website located at TheDirty.com, and
                               25
                                    admit that DW is subject to personal jurisdiction in California.
                               26
                                            4.     Deny.
                               27
                                            5.     Admit TheDirty.com was founded by Nik Lamas-Richie.
                               28


                                                         ANSWER OF DEFENDANT DIRTY WORLD, LLC
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                                1         6.      Deny.
                                2         7.      Admit DW made certain comments to Plaintiff’s counsel which speak for
                                3   themselves.
                                4         8.      Deny.
                                5         9.      Admit.
                                6         10.     Admit federal question jurisdiction exists pursuant to 28 U.S.C. § 1338(a).
                                7         11.     Admit DW is subject to personal jurisdiction in California.
                                8         12.     Deny, and affirmatively allege that venue in copyright cases is controlled
                                9   by 28 U.S.C. § 1400(a), not 28 U.S.C. § 1391.
                               10         13.     Admit on January 9, 2012, a post was submitted to TheDirty.com entitled
                               11   “Porta Potties Do Fall In Love” which was automatically assigned Post ID #1128246
                               12   (“Post #1128246”), a copy of which is shown below.
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                                                  DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                                1          Upon information and belief, the photograph contained in Post ID #1128246 is the
                                2   image described as “Photo 2” in ¶ 13 of Plaintiff’s Complaint.
                                3          Further admit on July 12, 2012, a different post was submitted to TheDirty.com
                                4   entitled “My Husband Flies His Own Plane And It’s Sexy” which was automatically
                                5   assigned Post ID #1259844 (“Post #1259844”), a copy of which is shown below.
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                               21
                               22          Upon information and belief, the photograph contained in Post ID #1259844 is the
                               23   image described as the “Video Image” of Plaintiff’s Complaint.
                               24          DW is unaware of the location or identity of the image described as “Photo 1” in ¶
                               25   13 of Plaintiff’s Complaint.
                               26          14.    Deny.
                               27         15.     Admit DW made certain comments to Plaintiff’s counsel which speak for
                               28   themselves.
                                                                                3
                                                  DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                                1         16.    DW lacks sufficient information upon which to form a belief regarding the
                                2   accuracy of these allegations and therefore denies same.
                                3         17.    DW lacks sufficient information upon which to form a belief regarding the
                                4   accuracy of these allegations and therefore denies same.
                                5         18.    Admit.
                                6         19.    Admit DW’s counsel made certain comments to Plaintiff’s counsel which
                                7   speak for themselves.
                                8         20.    Admit as of the date of the filing of Plaintiff’s Complaint, the photograph
                                9   contained in Post ID #1259844, also known as the “Video Image” has not been removed
                               10   from TheDirty.com, and that such remains published at the following address:
                               11   https://gossip.thedirty.com/hollywood/my-husband-flies-his-own-plane-and-its-sexy/
                               12   and/or https://gossip.thedirty.com/?p=1259844 (shortlink).
                               13         21.    Deny.
                               14         22.    Deny.
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                               15         23.    N/A
                               16         24.    Deny.
                               17         25.    Deny.
                               18
                               19                                    GENERAL DENIAL
                               20         DW generally denies all allegations in the Complaint except for those matters
                               21   which are expressly admitted herein.
                               22
                               23                            FIRST AFFIRMATIVE DEFENSE
                                                              (Digital Millennium Copyright Act)
                               24
                               25         Plaintiff’s claims are barred, in whole or in part, by the safe harbor provisions of

                               26   the Digital Millennium Copyright Act, 17 U.S.C. § 512(c).

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                                                  DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                                1                            SECOND AFFIRMATIVE DEFENSE
                                2                                      (Fair Use)

                                3          Plaintiff’s claims are barred, in whole or in part, because DW’s use of any images
                                4   owned by Plaintiff was fair pursuant to 17 U.S.C. § 107.
                                5
                                                              THIRD AFFIRMATIVE DEFENSE
                                6                                   (Failure To Register)

                                7          Plaintiff’s claims are barred, in whole or in part, because the works in question are
                                8   not registered or preregistered with the United States Copyright Office pursuant to 17
                                9   U.S.C. § 411(a).
                               10
                               11                            FOURTH AFFIRMATIVE DEFENSE
                                                                    (Lack of Standing)
                               12
                                           Plaintiff’s claims are barred, in whole or in part, because Plaintiff was not the
                               13
                                    lawful owner of any exclusive rights in any works which are the subject of this action at
                               14
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                                    the time such works were allegedly infringed.
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                               15
                               16
                                                               FIFTH AFFIRMATIVE DEFENSE
                               17                                   (Statute of Limitations)
                               18          To the extent Plaintiff seeks damages for any period prior to December 12, 2013,
                               19   such claims are barred by 17 U.S.C. § 507(b).
                               20
                                                              SIXTH AFFIRMATIVE DEFENSE
                               21                                    (Unclean Hands)
                               22
                                           To the extent Plaintiff seeks any equitable relief, Plaintiff’s claims are barred, in
                               23
                                    whole or in part, because Plaintiff acted unlawfully with respect to the subject matter of
                               24
                                    this action by, inter alia, falsely representing that the images in question were owned by
                               25
                                    Plaintiff and by falsely representing that DW’s use of such images was infringing.
                               26
                                                                         JURY DEMAND
                               27
                                           DW demands a trial by jury as to all issues so triable.
                               28
                                                                                  5
                                                   DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                                1          WHEREFORE, having fully answered Plaintiff’s Complaint, Defendant DIRTY
                                2   WORLD, LLC prays for the following relief:
                                3          A.     Dismiss Plaintiff’s Complaint with prejudice and order that Plaintiff take
                                4   nothing thereby;
                                5          B.     Deny, with prejudice, all equitable relief requested by Plaintiff;
                                6          C.     Award judgment for all reasonable attorney’s fees and costs incurred in

                                7   the defense of this matter pursuant to 17 U.S.C. § 505.

                                8          D.     Any other relief deemed appropriate by the Court.

                                9                                       COUNTERCLAIM
                               10                                            PARTIES
                               11          1.     Counterclaimant DIRTY WORLD, LLC (“DW”) is a limited liability
                               12   company formed under the laws of Delaware on September 14, 2007.
                               13          2.     Since its inception, DW’s principal and sole place of business has been
                               14   located in Phoenix, Arizona.
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                               15          3.     Counterdefendant PAUL N. WEINBERG (“Weinberg”) is an individual
                               16   residing in Los Angeles, California.
                               17          4.     Upon information and belief, Weinberg is currently married to non-party
                               18   SHAY LONDRE (“Londre”).
                               19          5.     Upon information and belief, Weinberg has been in a relationship with Ms.
                               20   Londre since at least January 1, 2012.
                               21                                   JURISDICTION/VENUE
                               22          6.     This Court has federal question jurisdiction over DW’s counterclaim
                               23   pursuant to 28 U.S.C. §§ 1331 and § 1338(a) because the counterclaim arises under
                               24   federal statute, specifically 17 U.S.C. § 512(f).
                               25          7.     Pursuant to 28 U.S.C. § 1400(a) venue is proper in this judicial district.
                               26                       ALLEGATIONS COMMON TO ALL CLAIMS
                               27          8.     Since its formation in September 2007, DW has owned and operated a
                               28   popular news and gossip website located at TheDirty.com (“TheDirty.com”).
                                                                                  6
                                                   DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                                1          9.     Among other things, TheDirty.com allows third party users to upload
                                2   content, news, photos, videos, and all forms of commentary on virtually any topic.
                                3          10.    Content appearing on TheDirty.com can be viewed free of charge.
                                4          11.    DW does not charge anything to users who wish to upload content to
                                5   TheDirty.com.
                                6          12.    DW does not charge anything to visitors who wish to view content
                                7   submitted by others.
                                8          13.    Although users of TheDirty.com can upload content relating to any topic
                                9   whatsoever, since 2007, TheDirty.com has been involved in breaking many major local
                               10   and national news stories including, but not limited to:
                               11                 a. In 2009, TheDirty.com published several nearly-nude photos of Miss
                               12                    USA contestant Carrie Prejean who had initially denied ever taking any
                               13                    such photos.     The scandal eventually resulted in pageant owner,
                               14                    president-elect Donald Trump, terminating Prejean’s contract thereby
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                               15                    stripping her of her title as Miss California.
                               16                 b. In 2010, former U.S. Congressman Ben Quayle initially denied rumors
                               17                    that he was involved in creating posts on the site. Several weeks later,
                               18                    Quayle changed his story and admitted that he wrote material for the
                               19                    site using the pseudonym "Brock Landers".
                               20                 c. In 2013, TheDirty.com published a story accusing former U.S.
                               21                    Congressman and New York City mayoral candidate Anthony Weiner
                               22                    of sending steamy photos/text messages to an unidentified woman.
                               23                    Congressman Weiner later admitted the story was true.
                               24                 d. In March 2015, TheDirty.com published several explicit text messages
                               25                    between Indiana Democratic House of Representatives member Justin
                               26                    Moed and a young woman, Sydney Leathers.
                               27          14.    As of January 2017, TheDirty.com contains more than 160,000 unique
                               28   posts and many tens of millions of comments submitted by third party users.
                                                                                 7
                                                    DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                                1         15.    Because material appearing on TheDirty.com is generally submitted by
                                2   third parties, the subjects and topics of discussion are extremely diverse and wide-
                                3   ranging. However, many posts are focused on scrutinizing, discussing, and/or criticizing
                                4   unusual people, unusual conduct, and unusual events.
                                5         16.    For example, in September 2012, a third party user of TheDirty.com
                                6   submitted a post to the site entitled: “Arizona State University This Is Just Wrong” which
                                7   was originally published at this address: http://thedirty.com/2012/09/arizona-state-
                                8   university-this-is-just-wrong/ (the “ASU Baby Post”).
                                9         17.    The ASU Baby Post contained a photograph taken in 2012 in Arizona at or
                               10   around an ASU football game with numerous ASU students present. The photo appeared
                               11   to show a male individual holding a small child wearing diapers being given beer from a
                               12   keg in what is commonly referred to as a “keg stand” as shown below”
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                                                  DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                                1          18.    The photograph contained in the ASU Baby Post and the events it depicted
                                2   gained substantial national and international media attention from multiple sources
                                3   including, but not limited to, Fox News, the Huffington Post, the Phoenix New Times,
                                4   and UK-based news outlet The Daily Mail, among dozens of others.
                                5          19.    Due to the national media attention created by the story, the photograph
                                6   contained in the ASU Baby Post and the events it depicted were widely copied and
                                7   republished by mainstream media sources including Fox News, as depicted below.
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                               25          20.    The ASU Baby Post is typical of content regularly appearing on

                               26   TheDirty.com. In general, users of the site often:

                               27                 a. Upload photos and stories depicting unusual or controversial people,

                               28                    places, or events which they believe are deserving of discussion;

                                                                                9
                                                  DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                               1                 b. Other users of TheDirty.com, sometimes but not always including its
                               2                    founder Nik Lamas-Richie, will post comments about the submitted
                               3                    material which conveys their views and opinions which may be positive,
                               4                    negative, or neutral.
                               5          21.    In keeping with this theme, on January 9, 2012, a post was submitted to
                               6   TheDirty.com entitled “Porta Potties Do Fall In Love” which was automatically assigned
                               7   Post ID #1128246 (“Post #1128246”), a copy of which is shown below.
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                              26          22.    Many posts on TheDirty.com employ a unique Internet vernacular which
                              27   may include abbreviations, non-literal phrases and slang terms created either by Mr.
                              28   Richie or by the public in general.
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                                                  DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                               1          23.    The phrase “Porta Potty” is a common, widely used non-literal slang term
                               2   which has been defined as follows: “Expensive escorts bought by rich Arab and
                               3   European men to go on ‘yacht parties’ for $30,000+ a piece. In reality these women are
                               4   brought onto these boats to get shit and pissed on, hence the name Porta Potties.” See
                               5   http://www.urbandictionary.com/define.php?term=port-a-potty.
                               6          24.    In the modern Internet vernacular, the term “Porta Potty” is roughly
                               7   equivalent to the earlier and more traditional epithet, “Gold Digger”; i.e., a younger, often
                               8   attractive female who deliberately pursues romantic relationships with wealthy older
                               9   men, usually with some hope of personal financial gain.
                              10          25.    Some members of the public, including Mr. Richie, believe that “Gold
                              11   Digging” is a morally and socially harmful and unacceptable practice, and that women
                              12   who pursue wealthy men primarily for financial gain rather than for other reasons are
                              13   deserving of criticism.
                              14          26.    Post #1128246 contained a single image which was stored on
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                              15   TheDirty.com’s servers at the direction of a third party user of the site.
                              16          27.    Upon information and belief, the image contained in Post #1128246 was
                              17   not created by Mr. Weinberg, nor was the image created as a work made for hire within
                              18   the meaning of 17 U.S.C. § 101.
                              19          28.    Upon information and belief, the image contained in Post #1128246 depicts
                              20   Mr. Weinberg in a grey shirt and Ms. Londre in a black dress appearing in the center of
                              21   the photograph between another couple.
                              22          29.    According to the text included in the post, the image depicts a young
                              23   woman named Kristen Sanne, alongside Ms. Londre and Mr. Weinberg. In the photo,
                              24   Ms. Sanne appears to be wearing underwear or lingerie in a setting which some people
                              25   may believe is inappropriate.
                              26          30.    Viewed in the context of TheDirty.com, the purpose of Post #1128246 was
                              27   to comment on the conduct of, and to criticize, Ms. Sanne, both in terms of her clothing
                              28   and her general behavior.
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                                                  DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                               1          31.    The use of the term “Porta Potty” in the title of Post #1128246, while surely
                               2   derogatory, was intended to criticize Ms. Sanne by suggesting that she was a “Gold
                               3   Digger”; i.e., she was involved in a romantic relationship with the wealthy older
                               4   gentleman shown in the photo.
                               5          32.    Post #1128246 did not specifically mention Ms. Londre or Mr. Weinberg.
                               6          33.    Several months after Post #1128246 was published, on July 12, 2012, a
                               7   different post was submitted to TheDirty.com entitled “My Husband Flies His Own Plane
                               8   And It’s Sexy” which was automatically assigned Post ID #1259844 (“Post #1259844”),
                               9   a copy of which is shown below. This post remains published at the following address:
                              10   https://gossip.thedirty.com/hollywood/my-husband-flies-his-own-plane-and-its-sexy/
                              11   and/or https://gossip.thedirty.com/?p=1259844 (shortlink).
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                              27          34.    Post #1259844 contained a single photograph which was stored on
                              28   TheDirty.com’s servers at the direction of a third party user of the site.
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                                                  DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                               1         35.    Upon information and belief, the image contained in Post #1259844 was
                               2   not created by Mr. Weinberg, nor was the image created as a work made for hire within
                               3   the meaning of 17 U.S.C. § 101.
                               4         36.    Upon information and belief, the image contained in Post #1259844 was a
                               5   single-frame screenshot taken from part of a much longer video in which Ms. Londre and
                               6   Mr. Weinberg appear standing in front of a small plane.
                               7         37.    Ms. Londre is, among other things, an aspiring model and socialite.
                               8         38.    As part of her efforts to gain notoriety as a model, Ms. Londre has actively
                               9   promoted her work by publishing large numbers of photos on a variety of websites. Such
                              10   photos include Ms. Londre modeling underwear and similar attire as shown below.
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                               1          39.   Ms. Londre’s efforts to gain notoriety as a model have met with some level
                               2   of success. For example, as of January 2017, Ms. Londre’s Instagram profile contained
                               3   more than 300 published photos and was followed by more than 22,000 individuals.
                               4          40.   Shortly after commencing this action, Ms. Londre changed her Instagram
                               5   profile from public to private. However, during the past several years, Ms. Londre has
                               6   actively endeavored to promote herself by publishing modeling photos and by publishing
                               7   photos flaunting her and Mr. Weinberg’s wealth.
                               8          41.   Upon information and belief, at some time prior to July 12, 2012, Ms.
                               9   Londre published the image contained in Post #1259844 on her Facebook page along
                              10   with a comment which read: “My husband flies his own plane and it is sexy”, or words to
                              11   that effect. At that time, images and certain comments published on Ms. Londre’s
                              12   Facebook page were openly visible to the public.
                              13          42.   Ms. Londre’s efforts to promote herself and to boast about her wealth and
                              14   lifestyle, and her comments regarding the same, have attracted both positive and negative
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                              15   attention. One form of negative attention was the criticism found in Post #s 1128246 and
                              16   1259844 on TheDirty.com.
                              17          43.   Ms. Londre and Mr. Weinberg were unhappy about the criticism found in
                              18   Post #s 1128246 and 1259844.
                              19          44.   In an effort to silence this criticism, on January 9, 2014, Ms. Londre and
                              20   Mr. Weinberg sent a letter to DW, a copy of which is attached hereto as Exhibit A. The
                              21   January 9, 2014 letter demanded that DW remove the images contained in Post #s
                              22   1128246 and 1259844 on the basis that those images were “infringing”.
                              23          45.   Immediately upon receipt of the January 9, 2014 letter, DW responded later
                              24   that same day via email through counsel. A copy of DW’s response is attached hereto as
                              25   Exhibit B. Among other things, DW’s response to Ms. Londre and Mr. Weinberg’s
                              26   counsel stated:
                              27
                                          I have received and reviewed your correspondence. In order to consider
                              28          your request, I will need additional information.
                                                                              14
                                                 DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                               1          Specifically, if your client claims to own the copyright to any photos
                               2          located on www.thedirty.com, I need to receive an original copy of the
                                          digital image file for each allegedly infringed photo. By “original copy” I
                               3          mean I need to receive the digital file as it was originally created on the
                                          camera or phone used to created the photo (as opposed to a copy which was
                               4          uploaded to Facebook, Instagram, or any similar site). These files must
                               5          contain the original EXIF/meta data showing the date/time the images were
                                          created.
                               6
                               7          I am requesting this information in an attempt to confirm that your client
                                          does, in fact, own the copyright to the images in question. Unfortunately,
                               8          it is extremely common for individuals to falsely assert claims of copyright
                                          ownership in this situation, despite the fact that doing so is unlawful per 17
                               9          U.S.C. § 512(f). To address that concern, I need to confirm that your client
                              10          actually owns the copyright to each photo at issue.

                              11          46.    Later that same day, on January 9, 2014, counsel for Ms. Londre and Mr.
                              12   Weinberg responded via email, a copy of which is attached hereto as Exhibit C.
                              13          47.    In his response, counsel for Ms. Londre and Mr. Weinberg refused to
                              14   comply with DW’s request for additional information and demanded that DW
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GINGRAS LAW OFFICE, PLLC

     PHOENIX, AZ 85044




                              15   immediately comply with the removal request.
                              16          48.    Upon information and belief, Ms. Londre and Mr. Weinberg refused to
                              17   comply with DW’s request for additional information because they knew that they were
                              18   not the creators or owners of any exclusive rights in two of the images in question.
                              19          49.    Upon information and belief, Ms. Londre and Mr. Weinberg refused to
                              20   comply with DW’s request for additional information because they knew that DW’s use
                              21   of the images in question was not infringing.
                              22          50.    DW did not remove any images in response to the January 9, 2014
                              23   correspondence from Plaintiff.
                              24          51.    More than a year later, on August 4, 2015, Ms. Londre and Mr. Weinberg
                              25   sent another letter to DW, a copy of which is attached hereto as Exhibit D. Despite
                              26   previously refusing to provide any additional information to support their infringement
                              27   claims, Ms. Londre and Mr. Weinberg’s counsel provided some limited additional
                              28   information regarding the images contained in Post #s 1128246 and 1259844.
                                                                               15
                                                 DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                               1         52.    Upon receiving the August 4, 2015 correspondence, DW removed the sole
                               2   image contained in Post #1128246, and it removed a second image contained in Post
                               3   #1259844 which appeared to be a “selfie” taken by Ms. Londre in a car mirror.
                               4   However, DW did not remove the photo in Post #1259844 which showed Ms. Londre and
                               5   Mr. Weinberg standing in front of an airplane.
                               6         53.    On October 27, 2015, Ms. Londre and Mr. Weinberg sent another letter to
                               7   DW, a copy of which is attached hereto as Exhibit E. In this letter, Ms. Londre and Mr.
                               8   Weinberg’s counsel confirmed that DW had removed two images from Post #s 1128246
                               9   and 1259844, but the letter continued to demand the removal of the photo in Post
                              10   #1259844 which showed Ms. Londre and Mr. Weinberg standing in front of an airplane.
                              11         54.    Once again, DW did not remove the photo in Post #1259844 which showed
                              12   Ms. Londre and Mr. Weinberg standing in front of an airplane.
                              13         55.    On September 6, 2016, Ms. Londre and Mr. Weinberg sent another letter to
                              14   DW, a copy of which is attached hereto as Exhibit F. As before, the letter demanded the
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     PHOENIX, AZ 85044




                              15   removal of the photo in Post #1259844 which showed Ms. Londre and Mr. Weinberg
                              16   standing in front of an airplane. Once again, DW refused to comply with this demand.
                              17         56.    Based on DW’s refusal to remove the photo in Post #1259844, Mr.
                              18   Weinberg commenced this action on December 12, 2016.
                              19                                FIRST CAUSE OF ACTION
                              20                     (False DMCA Notice Liability; 17 U.S.C. § 512(f))
                              21         57.    Plaintiff incorporates the above allegations as if fully set forth herein.
                              22         58.    On one or more dates including January 9, 2014, August 4, 2015, October
                              23   27, 2015, and/or September 9, 2016, Mr. Weinberg sent DW a written notification of
                              24   claimed infringement within the meaning of 17 U.S.C. § 512(c)(3). These notices
                              25   demanded the removal of images contained within Post #s 1128246 and 1259844.
                              26         59.    At the time each notification of claimed infringement was sent, Mr.
                              27   Weinberg knowingly materially misrepresented that the images in question were

                              28   infringing because the use of the images was fair pursuant to 17 U.S.C. § 107 and was

                                                                               16
                                                 DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                               1   therefore non-infringing. See Online Policy Group v. Diebold Inc., 337 F.Supp.2d 1195
                               2   (N.D.Cal. 2004).
                               3          60.    At the time each notification of claimed infringement was sent, Mr.
                               4   Weinberg knowingly materially misrepresented that he had formed a good faith belief
                               5   that the use of the images in question was not fair because he failed to consider fair use at
                               6   all, and knew that he had failed to do so. See Lenz v. Universal Music Corp., 815 F.3d
                               7   1145, 1154 (9th Cir. 2015), cert. denied, 137 S. Ct. 416 (2016).
                               8          61.    At the time one or more notifications of claimed infringement were sent,
                               9   Mr. Weinberg knowingly materially misrepresented that DW’s use of the images was
                              10   infringing because, at that time, Mr. Weinberg knew that he was not the owner of any
                              11   exclusive rights in at least one or more of the image(s), nor was he authorized to act on
                              12   behalf of any such owner.
                              13          62.    By knowingly and falsely materially misrepresenting that material or
                              14   activity on DW’s website was infringing, Mr. Weinberg violated 17 U.S.C. § 512(f).
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                              15          63.    As a result of Mr. Weinberg’s violations of 17 U.S.C. § 512(f), DW was
                              16   damaged in an amount to be proven at trial.
                              17          64.    As a result of Mr. Weinberg’s violations of 17 U.S.C. § 512(f), DW is
                              18   entitled to an award of attorney’s fees and costs.
                              19
                              20                                        JURY DEMAND

                              21          Dirty World demands trial by jury as to all issues so triable.

                              22
                              23   WHEREFORE, Counterclaimant DIRTY WORLD, LLC prays for judgment against

                              24   Counterdefendant PAUL N. WEINBERG as follows:

                              25         A.      For judgment awarding damages according to proof at trial;

                              26         B.      For judgment awarding costs, including attorney’s fees, pursuant to 17

                              27                 U.S.C. §§ 505 and/or 512;
                                         C.      For judgment awarding taxable costs pursuant to 28 U.S.C. § 1920;
                              28
                                                                                 17
                                                  DIRTY WORLD, LLC’S ANSWER & COUNTERCLAIM
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                               1      D.    Any such other relief deemed appropriate by the Court.
                               2      DATED: January 6, 2017.
                               3
                                                                              GINGRAS LAW OFFICE, PLLC
                               4
                               5                                              /S/ David Gingras
                                                                              David S. Gingras
                               6                                              Attorney for Defendant/Counterclaimant
                               7                                              Dirty World, LLC

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                                                                     #:55


                               1                                CERTIFICATE OF SERVICE
                               2
                                   I hereby certify that on January 6, 2017 I transmitted the attached document to the
                               3
                                   Clerk’s Office for filing, and mailed a copy of the foregoing to:
                               4
                               5                                    Gary J. Gorham, Esq.
                               6                                Raskin Gorham Anderson Law
                                                                     11333 Iowa Avenue
                               7                                   Los Angeles, CA 90025
                                                            Attorney for Plaintiff/Counterdefendant
                               8
                               9
                              10
                              11
                              12
                                                                                                  /s/David S. Gingras
                              13
                              14
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GINGRAS LAW OFFICE, PLLC

     PHOENIX, AZ 85044




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                                    #:56




                            Exhibit A
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                                                                                  31O.2o2.ss44 (o) ' 310.2o2.ss40 (f )




     January 9,2014

    By E-mail:

    LEGAL(ò.THEDIRTY.COM
    David@Ginsraslaw.com

    By Facsimile to David S. Gingras, Esq.: (480) 248-3196

    Legal Department
    Dirty World, LLC c/o Corporate Creations Network, Inc.
    3411 Silverside Road, #104 Rodney Bldg.
    tüilmington, DE 19810

    David S. Gingras
    Gingtas Law Office, PT.T.C
    3941, E. Chandler Blvd., #106-243
    Phoenix, AZ 85048
    Facsimile: (480) 248-319 6

    Re: Infrinsins Postinss on www.TheDirtv.com of Photooraohs Owned bv Paul
             Weinberp and Shav Londre

    Dear Mr. Gingtas, et al.:

    On behalf of our clients Paul Weinberg and Shay Londre, the copyright holdets of certain
    photogtaphs (the "Photographs") posted on your website "TheDirty.com" (the "rü(/ebsite"),
    I am writing to you to demand that the Photogtaphs be removed from the Website.

    The Photogaphs have been posted in tu¡o posts on the Website. You can find infringing
    postings of the Photographs at:

    htto: / /thedirw. com /20 1 2 /01 /oorta-ootties-do- fall-in-love/

    The above post features one of the Photogaphs, depicting two couples at a party, with one
    woman's raised leg extended in front of/across all four standing persons. There are no
    other photographs in that post.

    The other Photographs âppeff in the post located at:

    httD://thedirw.corr'/2072/07 / mv-husband-flies-his-own-olane-and-its-sexv/
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    The above post features ¡¡¡o of the Photograph. The first depicts a woman and a man with
    a pivate plane behind them; the second is a close-up of the woman. There are no other
    photographs in that post.

    Each of the Photogtaphs have been reproduced in their entirety. These postings of the
    Photogaphs, and any other uses of the Photographs on the Website, are not authorized by
    the copyright owners, their licensees, agents, or by law.

    Please note that our clients have already sent multiple takedown notices to the operator of
    the !üebsite. Despite having had many months to comply, the operator has failed to do so.
    Therefore, if the Photogaphs are not removed from the Website within five (5) business
    days from today, our clients intend to file a lawsuit.

    I hereby certi$' under penalty of perjury that all statements made in this communication to
    Dirty Ïíotld, LLC are accurate, and that I am authorÞed to act on behalf of the owners of
    the exclusive dghts that are being inftinged.

    Our clients reserve all of their rights and remedies with respect to this matter, whether
    arising atlasv, in equity, or otherwise.

    Thank             âdvance for your prompt attention to this matter.




    Eric F. Harbert
    Attorney-in-Fact
    Paul Weinbetg and Shay Londre
    eharbet@raskinlawllp. com

    cc:     Gary Raskin, Esq.
            Mike Anderson, Esq.
            Clients
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                            Exhibit B
                                                                                                    Page 1 of 2
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                                                    #:60


 David Gingras, Esq.

  From:     David Gingras, Esq. [david@gingraslaw.com]
  Sent:     Thursday, January 9, 2014 12:20 PM
  To:       'Beverly Isadore'; 'LEGAL@THEDIRTY.COM'
  Cc:       'Eric Harbert'; 'Gary Raskin'; 'Mike Anderson'
  Subject: RE: Infringing Postings on TheDirty.com of Photographs Owned by Paul Weinberg and Shay
           Londre

Mr. Harbert,

I have received and reviewed your correspondence. In order to consider your request, I will need additional
information.

Specifically, if your client claims to own the copyright to any photos located on www.thedirty.com, I need to
receive an original copy of the digital image file for each allegedly infringed photo. By “original copy” I mean I
need to receive the digital file as it was originally created on the camera or phone used to created the photo (as
opposed to a copy which was uploaded to Facebook, Instagram, or any similar site). These files must contain the
original EXIF/meta data showing the date/time the images were created.

I am requesting this information in an attempt to confirm that your client does, in fact, own the copyright to the
images in question. Unfortunately, it is extremely common for individuals to falsely assert claims of copyright
ownership in this situation, despite the fact that doing so is unlawful per 17 U.S.C. § 512(f). To address that
concern, I need to confirm that your client actually owns the copyright to each photo at issue.

Until I receive a response from you, I will not be able to advise my client to take any action with respect to your
removal request.

David Gingras, Esq.
Gingras Law Office, PLLC
David@GingrasLaw.com
https://twitter.com/DavidSGingras
http://gingraslaw.com
Tel.: (480) 264-1400
Fax: (480) 248-3196




From: Beverly Isadore [mailto:BIsadore@raskinlawllp.com]
Sent: Thursday, January 9, 2014 12:04 PM
To: LEGAL@THEDIRTY.COM; David@GingrasLaw.com
Cc: Eric Harbert; Gary Raskin; Mike Anderson
Subject: Infringing Postings on TheDirty.com of Photographs Owned by Paul Weinberg and Shay Londre

Mr. Gingras, et al:




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                                              #:61

Please see attached letter.

Beverly Isadore
Assistant to Eric Harbert
RASKIN | ANDERSON LAW
The Culver Studios
9336 W. Washington Blvd., Bldg. C
Culver City, CA 90232
310.202.5544 (o) / 310.202.5540 (f)
bisadore@raskinlawllp.com




1/5/2017
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                            Exhibit C
                                                                                                     Page 1 of 3
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                                                  #:63


 David Gingras, Esq.

  From:           Eric Harbert [EHarbert@raskinlawllp.com]
  Sent:           Thursday, January 9, 2014 2:38 PM
  To:             david@gingraslaw.com; Beverly Isadore; LEGAL@THEDIRTY.COM
  Cc:             Gary Raskin; Mike Anderson
  Subject:        RE: Infringing Postings on TheDirty.com of Photographs Owned by Paul Weinberg and Shay
                  Londre
  Attachments: dirtwrldDesignatedAgent.pdf

Mr. Gingras:

Your response is inappropriate and contrary to the legal obligations of your client.

You are the Designated Agent for Dirty World, LLC (“Dirty World”), designated to receive DMCA takedown
notices pursuant to 17 USC § 512(c)(2). Attached is the notice filed by you to that effect in the United States
Copyright Office. The authorized agent of the copyright owner has provided to you a takedown notice that
complies with all requirements of 17 USC § 512(c)(3). You are not entitled to any additional information from
the copyright owners or their agent. Rather, Dirty World, which now has actual knowledge of the infringing
activity occurring on its website, is required as a matter of law to remove expeditiously the infringing material
from its website. § 512 does not afford Dirty World the right to fabricate an evidentiary process for
determination of copyright ownership. Its obligation is to remove the infringing material immediately. It may
not wait to contact the poster of the infringing material. It may not seek the original images in question. It may
not do anything at all other than remove the infringing material.

Moreover, given that the photographs were misappropriated from our clients’ Facebook page and the images
depicted in the photographs – personal photographs of our clients, alone or with another couple – your demand
to verify the origin or author of the photographs is particularly misguided.

Any failure to do remove the infringing material now may expose Dirty World, LLC to liability. Given that our
clients have sent two prior takedown notices, which have been ignored, our clients are prepared to promptly file
suit to avail themselves of all remedies available at law, in equity, or otherwise.


Eric F. Harbert
Attorney at Law
RASKIN | ANDERSON LAW
The Culver Studios
9336 W. Washington Blvd., Bldg. C
Culver City, CA 90232
310.202.5544 (o) / 310.202.5540 (f)

From: David Gingras, Esq. [mailto:david@gingraslaw.com]
Sent: Thursday, January 09, 2014 11:20 AM
To: Beverly Isadore; LEGAL@THEDIRTY.COM
Cc: Eric Harbert; Gary Raskin; Mike Anderson
Subject: RE: Infringing Postings on TheDirty.com of Photographs Owned by Paul Weinberg and Shay Londre

Mr. Harbert,




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I have received and reviewed your correspondence. In order to consider your request, I will need additional
information.

Specifically, if your client claims to own the copyright to any photos located on www.thedirty.com, I need to
receive an original copy of the digital image file for each allegedly infringed photo. By “original copy” I mean I
need to receive the digital file as it was originally created on the camera or phone used to created the photo (as
opposed to a copy which was uploaded to Facebook, Instagram, or any similar site). These files must contain the
original EXIF/meta data showing the date/time the images were created.

I am requesting this information in an attempt to confirm that your client does, in fact, own the copyright to the
images in question. Unfortunately, it is extremely common for individuals to falsely assert claims of copyright
ownership in this situation, despite the fact that doing so is unlawful per 17 U.S.C. § 512(f). To address that
concern, I need to confirm that your client actually owns the copyright to each photo at issue.

Until I receive a response from you, I will not be able to advise my client to take any action with respect to your
removal request.

David Gingras, Esq.
Gingras Law Office, PLLC
David@GingrasLaw.com
https://twitter.com/DavidSGingras
http://gingraslaw.com
Tel.: (480) 264-1400
Fax: (480) 248-3196




From: Beverly Isadore [mailto:BIsadore@raskinlawllp.com]
Sent: Thursday, January 9, 2014 12:04 PM
To: LEGAL@THEDIRTY.COM; David@GingrasLaw.com
Cc: Eric Harbert; Gary Raskin; Mike Anderson
Subject: Infringing Postings on TheDirty.com of Photographs Owned by Paul Weinberg and Shay Londre

Mr. Gingras, et al:

Please see attached letter.

Beverly Isadore
Assistant to Eric Harbert
RASKIN | ANDERSON LAW
The Culver Studios
9336 W. Washington Blvd., Bldg. C
Culver City, CA 90232
310.202.5544 (o) / 310.202.5540 (f)
bisadore@raskinlawllp.com




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                            Exhibit D
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The Culver Studios ' 9336W.Washington Blvd., Bldg. C . Culver City, CA 90232         31o.2o2.5s44 (o) ' 510.202.ss40 (f)




             August 4,2015

             Via E-mail: I-æsal(ò.TheDirw. com
             David@Gingraslaw.com

             Via Facsimile:David S. Gingras, Esq.: (480) 248-3196

             Legal Depaftment
             Dirty World, LLC c/o Coqporate Creations Network, Inc.
             3411 Silverside Road, #104 Rodney Bldg.
             Vilmington, DE 19810

             David S. Gingras
             Gingas Law Office, PLLC
             3941, E. Chandler Blvd., #106-243
             Phoenix, AZ 85048
             Facsimile: (480) 248-319 6

             Re: Infrinsins Postinss on www.TheDirtv.com of Photosraohs Owned bv Paul
                      Weinbers and Shav Londre

             Dear Mr. Gingras, et a1.:

             I am following up on correspondence sent to you more than one year ago relating to
             infringrng photogaphs of Paul Weinberg and Shay Londre on your website "TheDirty.com"
             (the "\X/ebsite') As we previously informed you, Mr. Weinberg and Ms. Londre are the
             copyright holdets of cetain photographs (the "Photogaphs') posted on the \Website.

             The Photographs have been posted in two posts on the Website. You can find infringing
             postings of the Photographs at:

             http: / /thedirty.com /201 2/01 /porta-potties-do-fall-in-love/

            The above post features one of the Photogaphs, depictìng two couples a p^rty, with one
                                                                                    ^t
            woman's taised leg extended in front of/across all four standing persons. There are no
            other photographs in that post.

            The other Photogtaph appears in the post located ât:

            http://thedi¡w.com/2072/07 /mv-husband-flies-his-own-nlane-and-its-sexv/

            The above post features a photogtaph of a woman and a man with a pdvate plane behind
            them. There are no other photographs in that post.
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    Legal Depatrment
    Dirty World,LLC
    August 4,2015
    Page2


    Each of the Photographs has been reproduced in its entirety. These postings of the
    Photographs, and any other uses of the Photographs on the Website, aÍe not authodzed by
    the copyright owners, thefu licensees, agents, or by law.

    In response to your request that these infringing Photogtaphs be removed from the lWebsite
    last year, we ¡eceived a demand that we prove ownership of the Photogtaphs. We provided
    to you rnJanuary 2074 allnotice as requfued by 17 USC $ 5tZ(c)(3). Your failue to remove
    the infringing wotks at ¡hat time takes you out of the safe harbor, and subjects you to
    damages for willful infringement.

    Although we have no obligation whatsoever to do so, and solely for the purpose of
    establishing ownership of the copyrights in the Photographs, I am also attaching original
    JPG with EXIF for the "two couples" image, and for a potuaít of Ms. Londre that
    previously appeared on the Website. The image of Mr. Weinberg and Ms. Londre in front
    of the aþlane is a screen capture of a GoPro video taken by the copyright ou/ners, so there
    is no originalJPG image. The EXIF is provided. These images are provided solely for the
    purpose of establishing proof of copyright ownership, and they mây not be reproduced or
    displayed for any purpose.

    This is our last request that the infringing photos be taken down, prior to suing for copyright
    infringement.

    I hereby certi$r under penalty of pe{ury that all statements made in this communic¿tion to
    Dirty World,LLC afe accrßate, and that I am authorized to act on behalf of the owners of
    the exclusive dghts that are being infringed.

    Nothing herein is a waiver of Mr. lüeinberg's and Ms. Londre's rights, at law or in equity, all
    of which are reserved.




        J. Gorha
   Attorney-in-Fact
   Paul Weinberg and Shay Londre
   ssorham(ò.raskinlawllo.com

   cc:     Gary Raskin, Esq.
           Clients




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                            Exhibit E
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    Rmrcx GoRHAM AxDERsoN Lrw
    The Culver Stud¡os . 933ó W. Washington Blvd., Bldg. C . Culver City, CA 90232                  31o.202.5544 (o) ' 5t0.2O2.ss4o (f )




                  October 27,201,5
l




                  By E--mail:

                  DMCA@ltHEDIRTY.com
                  LEGAL@THEDIRTY.com
                  Dayid@Ginsraslaw.com

                  By Facsimile to David S. Gingras, Esq.: (480) 248-3196

                 Legal Depaftment
                 Dirty World,LLC cf o Corporate Creations Nerwork, Inc.
                 3411 Silverside Road, #104 Rodney BIdg.
                 Wilmington, DE 19810

                 David S. Gingras
                 Gingras Larv Office, PLLC
                 3941F-. Chandler Blvd., #106-243
                 Phoenix, AZ 85048
                 Facsimile: (480) 248-31,9 6

                 Re:      Infringing Postings on wwrv.TheDirty.com of Photographs Owned by Paul
                          \X/einbers and Shav Londre

                 Dear Mr. Gingras, et al.:

                 I am following up on several prior letters sent to you over the course of the past yeâr relating
                 to infringing photographs of Paul Weinberg and Shay Londre on the website TheDirty.com
                 (the "Website').

                 It appears that, in response to our correspondence this past August, TheDirty.com finally removed
                 the infringing image located at http://thedirty.com/2012101/porta-potties-do-fall-in-love/.

                 However, the follorving infringing image remains posted on TheDirty.com, as it has for over one
                 year: http://thedirty.com/2012l07lmy-husband-flies-his-own-plane-and-its-sexy/.

                !Øe have asked numerous times that this image be taken down. In response to a demand
                from TheDirty.com for evidence of copyrþht ownership, we provided all the evidence,
                months ago. I enclose for your convenience a copy of my prior correspondence with you on
                this issue.
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ResrrN Gorurev ANopnsoN Law

    David S. Gingras
    October 27,2015
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    This is our last demand that this image be permanently deleted ftom TheDirty.com. If thç
    image is not removed by or on November 9,20'l.5,we will file suit, seeking damages for
                                    among

    I heteby ceti$r under penaþ of perjury that all statements made in this communication to
    Dirty tüØorld,LLC are accurate, and that I am authorized to âct on behalf of the owners of
    the exclusive rights thatarc being infringed.

    Nothing herein is a waiver of Mr. líeinberg's and Ms. Londre's rights, at law or in equiç all
    of which are resen¡ed.




            J. Gõrham

    Paul Weinberg and Shay Londre
    ggotham@¡askinl¿wllp. com


    Encl.
    cc       Gary Raskin, Esq.
             Clients
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Gary Gorham
From:                        GaryGorham
Sent:                        Wednesday, August 12,2015 5:05 PM
to:                          'david@Gingraslaw.com';'DMGA@thedirty.oom'
Subfect:                     FW: Infringing Postings on www.TheDirty.com of Photographs Owned by PaulWeinberg and
                             Shay Londre
Attachments:                 8-04-201 5 Takedown Notice 84-1 5.pdf




Please see my attached letter re infringing material,



GaryJ. Gorham
RASKIN GORHAM ANDERSON tAW
9336 W. Washlngton Blvd., Bldg. C
Culver City, CA 90232
E eeorham@raskinlawllp.com
T 310-202-5544
D 310-202-5542
F 310-202-5540
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RasrcN GoRHAM AxDERsoN L*vw
The Culve¡ Studios . 933ó W, Washington Blvd., Bldg, C ' Culver City, CA 902g2                31O,2O2.5s44 (o) . 310.202,s540 (f )




              August 4,2015

             Via F,¡nail: T ne.nl(ò'l'hol-)ir'rrr cnsn
             D avid@ Gingraslarv. com


             Via Facsinile:David S. Gingras, Ësq.: (480) 248-3196

             Legal Deparrment
             Dirry World,LLC c/o Corporate Creations Nehvork, Inc.
             3411 Silverside lìoad, #104 Rodney Bldg.
             Wilmington, DE 19810

             David S. Gingras
             Gingas Larv Office, PLLC
             3941E, Chandler Blvd,, t+106-24.3
             Plroenix, AZ 85048
             Facsimile: (480) 248-319 6

             Iìc:     Infi:inging Postings on rvlqw*]lbeDjltl:"com of Photographs Orvned b),-Paul
                      \ù7eiqh-çrg and Shay L,ondre


             Dear lvfr. Gingras, et al,:

            I am following up on correspondence sent to you more than one year ago relating to
            infringing photographs of Paul \X/einberg and Shay Londre on your rvebsite "I'heDirty.com"
            (tlie "\X/ebsite') As rve previously informed 1'ou,lvfr. Weinberg ¿ncl Ms, I-ondre are the
            copytight holders of certain photographs (the "Photographs") posted on the Website,

            The Photogtaphs have been posted in two posts on the Websire. You can find infringing
            postings <¡f the Photographs at:

            htÞi íthedirry.coru20l 2 /01 /porta-potties-do-fall-in:love/.

            'Ihe above post fcahrres onc of the Photographs, clepicting hvo couples at a parq', rvith one
            wo¡nân's ¡aised leg extended in frorrt of/across all four standing persons. T'llere are r1o
            other photographs in that post.

            The othcr Photograph appeârs in the post locatcd nt:

            http: //tledirt)'.com /2012 /07 /rny;h_usbartd-ftçç:.1:ìç-o:¡¡r¡.:plane-¡nd-its-sexy/

            The above post fearures a photograph of a womân and a man with a pxivâte plane behind
            them, "fhete âre tlo other photographs in that post.
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ResrlN GonHeu ANoBRsoN Lew
     Legal Depatnnent
     Dirty World, LLC
     Atrgust 4,2015
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     Photographs, and any other uses of the Photographs on the lØebsite, âre not authorized by
     the copydght owners, their licensees, agents, or by law.

     In tesponse to your request that these inftinging Photographs be removed from the Website
     last yeat, rve received a demand that we prove o\\rnership of the Photographs. \le ptovided
     to you inJanuary 2074 allnotice as required by 17 USC $ 512(c)(3). Your failure to remove
     dre inftinging works at that time takes you out of the safe harbot, and subjects you to
     damages for willful inftingement.

     Aldrough rve have no obligation whatsoevs to do so, and solely for the purpose of
     establishing ownership of the copyrþhts in the Photographs, I am also attaching original
     fPG with EXIF for the "trvo couples" irnage, and fot a portrait of Ms. Londre that
     pteviously appeared on the'VØebsite. The image of Mr. rü(/einberg and Ms. Londre in ftont
     of the airylane is a screen capture of a GoPro video talçen by the copyright o'wners, so there
     is no odginalJPG image, The EXIF is ptovided. These images are provided solely fot the
                                     of copyfight ownefshiP, and they may not be teproduced or
     å:jî:."í"î^rj,jffi:r:of
           i- our last request that the infringing photos be taken dorvn, pdor to suing fot copyright
     J$
     infringement.

     I heteby certifr under penalty of perjury that all statements rnade in this communication to
     Ditty rü/odd, LLC are accurate, and that I am authorized to act on behalf of the owners of
     thc exclusive tights that are being infr.inged.

    Nothing herein is a waiver of Mr. Weinberg's and Ms. Londre's rights, at law or in equity, all
    of which are ¡eserycd.




    Attorney-in-Fact
    Paul Weinberg and Shay Londre
    ggorham @raskinlawllp. com

    cc:      Gary Raskin, Esq.
             Clients
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